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WYNDHAM WORLDWIDE
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WYNDHAM VACATION
RESORTS, INC., MICHAEL JONAH,
and TOM VIRAG

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FILED IN THE
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JE BEITIA, CLERK

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWATI

LIANE WILSON; and JOANNA
WHEELER, on behalf of themselves
and on behalf of other females similarly
situated,

Plaintiffs,
VS.

WYNDHAM WORLDWIDE
CORPORATION; WYNDHAM
VACATION OWNERSHIP, INC. ;
WYNDHAM VACATION RESORTS,

796191v1

 

 

Case NoCV 1 1 00538 1p) Phi:

DEFENDANTS WYNDHAM
WORLDWIDE CORPORATION,
WYNDHAM VACATION
OWNERSHIP, INC., AND
WYNDHAM VACATION
RESORTS, INC.’S, CORPORATE
DISCLOSURE STATEMENT;
CERTIFICATE OF SERVICE
Case 1:11-cv-00538-DKW-BMK Document4 Filed 09/01/11 Page2of5 PagelD.5

INC.; MICHAEL JONAH; TOM
VIRAG; DOES I-X; and ROE
BUSINESS ENTITIES I-X, Inclusive,

Defendants.

 

DEFENDANTS WYNDHAM WORLDWIDE CORPORATION,
WYNDHAM VACATION OWNERSHIP, INC.,
AND WYNDHAM VACATION RESORTS, INC.'S
CORPORATE DISCLOSURE STATEMENT

Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure,
Defendants WY NDHAM WORLDWIDE CORPORATION, WYNDHAM
VACATION OWNERSHIP, INC., and WYNDHAM VACATION RESORTS,
INC., (hereinafter "Corporate Defendants"), by and through their attorneys, Alston
Hunt Floyd & Ing, hereby submit their Corporate Disclosure Statement.

Wyndham Vacation Resorts, Inc. is a wholly owned subsidiary of

Wyndham Vacation Ownership, Inc. which, in turn, is a wholly owned subsidiary

of Wyndham Worldwide Corporation, which is publicly held.

In their most recent Schedule 13G reports filed with the U.S.
Securities and Exchange Commission, each of Barrow, Hanley, Mewhinney &
Strauss, Inc (“Barrow”), and Vanguard Windsor Funds ~ Vanguard Windsor II
Fund (“Vanguard”), reported beneficial ownership of more than 10% of the
common stock of Wyndham Worldwide Corporation. However, we understand

that Barrow is an investment manager for Vanguard and that shares reported as

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Case 1:11-cv-00538-DKW-BMK Document 4 Filed 09/01/11 Page3of5 PagelD.6

beneficially owned by Barrow include a substantial portion of the shares

beneficially owned by Vanguard.

DATED: Honolulu, Hawai'i, September 1, 2011.

ANNA ELENTO-SNEED
ZACHARY A. MCNISH

Attorneys for Defendants
WYNDHAM WORLDWIDE
CORPORATION, WYNDHAM
VACATION OWNERSHIP, INC.,
WYNDHAM VACATION RESORTS,
INC., MICHAEL JONAH, and TOM
VIRAG

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Case 1:11-cv-00538-DKW-BMK Document4 Filed 09/01/11 Page 4 of 5

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IN THE UNITED STATES DISTRICT COURT

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LIANE WILSON; and JOANNA
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CORPORATION; WYNDHAM
VACATION OWNERSHIP, INC;
WYNDHAM VACATION RESORTS,
INC.; MICHAEL JONAH; TOM
VIRAG, DOES I-X; and ROE
BUSINESS ENTITIES I-X, Inclusive,

Defendants.

 

 

Case No.

 

CERTIFICATE OF SERVICE

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this date I caused a true and correct copy of

the foregoing document to be served on the following individuals via facsimile,

hand-delivery, or U.S. mail, postage prepaid (as indicated below) to their

respective addresses:

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HAND-
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Attorneys for Plaintiffs

LIANE WILSON and JOANNA
WHEELER, on behalf of themselves
and on behalf of other females similarly
situated

FAXED MAILED

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( ) (X)

DATED: Honolulu, Hawai'i, September 1, 2011.

Paha, Tethys
ANMA EVENTO-SNEED
ZACHARY A. MCNISH

Attorneys for Defendants
WYNDHAM WORLDWIDE
CORPORATION, WYNDHAM
VACATION OWNERSHIP, INC.,
WYNDHAM VACATION RESORTS,
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VIRAG

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